







		NO. 12-08-00283-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: JERRICO PROVOST,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Jerrico Provost seeks habeas relief from this court complaining that the Texas Department
of Criminal Justice has illegally incarcerated him while he is on parole without any new crime or
charge, sentence, or conviction.  We dismiss for want of jurisdiction.

	The original habeas jurisdiction of the courts of appeals is limited to those cases in which a
person's liberty is restrained because the person has violated an order, judgment, or decree entered
in a civil case.  Tex. Gov't Code Ann. § 22.221(d) (Vernon 2004).  Stated another way, courts of
appeals do not have original habeas corpus jurisdiction in criminal law matters.  See id.  Because the
underlying cause is a criminal case, we are without jurisdiction to grant the requested habeas relief.
Accordingly, Provost's application for writ of habeas corpus is dismissed for want of jurisdiction.

Opinion delivered June 30, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




(DO NOT PUBLISH)


